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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the cases listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


      8:91CR38                                USA v. Delano Maxwell, Hassan Majied, Martin Lewis,
                                              Chester Davis, Laquita Coleman
      8:92CR14                                USA v. Christopher Allen Scott
      8:92CR106                               USA v. Frank Skorniak
      8:98CR2 (Sealed)                        USA v. Efrain Gomez
      8:98CR199                               USA v. Boyer Dibois Johnson
      8:99CR105 (Sealed)                      USA v. Darrell A. Taylor, Kenneth C. Campbell
      8:00CR130                               USA v. Joel Caro, Lisa Bass, Roberto Jimenez, Uriel
                                              Carranza, Miguel Morales-Galicia
      8:00CR212                               USA v. Pablo Stallings, Gary Agee
      8:01CR101 (Sealed)                      USA v. Alonzo Martinez-Camacho, Augustin Salcedo-
                                              Valenzuela, Concepcion Ozuna-Valenzuela, Richard D.
                                              Avila, Marvin Miller,Janice Vopalka, Patrick Powers
      8:01CR219                               USA v. William Curtis and Elijah H. Harris, III
      8:01CR324 (Sealed)                      USA v. Ernest Hill
      4:02CR087                               USA v. Rogelio Sanchez-Zamudio
      8:02CR311                               USA v. Curtis Skillett
      4:03CR3147 (Drugs)                      USA v. Mike R. Gutierrez
      8:04CR358 (Sealed)                      USA v. Jerome Daniels
      8:05CR419                               USA v. Curtis Alan Robey
      8:06CR205                               USA v. David Gurrola




      DATED this 25th day of June, 2007.


                                              BY THE COURT

                                              s/Lyle E. Strom
                                              Senior United States District Judge
